Case 7:19-mj-00817`_ Document 1 Filed on 04/11/19 in TX§,|I|)`ne|a>%q§te'lsgi§rict C°urt

Southern District Of Texas
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David J. Bradley, Cierk

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AO 91 (Rev. 08/09) Criminal Complaint

'UNIT'ED STATES DISTRICT_COURT

for the

Southern District of Texas

 

United States ofAmerica ' )
v. ' 4 )
Jorge Enrique Sanchez ) . Case No. M"\,q _ 03 l r]' vt\
YOBZ 1975 ) _
U.S. Citizen )
)
D.efendant(s)
CR_IMINAL CoMPLAlNT

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I, the complainant in this case, state that the following is true to the best of my knowledge and belief

 

 

On or about the date(s) of October 30, 2018 in the county of Hidalgo in the
Southern District of Texas g the defendant(s) violated:
Coa'e Section _ ' Ojj’ense Description

18 USC 922 (n)- Unlavvful for any,person Who is under indictment for a crime
18 USC 922 (n) punishable by imprisonment for a term exceeding one year to ship or transport in
` interstate or foreign commerce any firearm or ammunition or receive any firearm or
ammunition Which has been shipped or transported in interstate or foreign commerce.

This criminal complaint is based on these facts:

(See ATTACH|VIENT A as a continuation)

d Continued on the attached sheet. ' , '
\_jomplainant ’s signature `

n ' Steven l\/Iedrano - ATF Speciai Aqent
Ap[] (`0\/€,(9 107 EO b@{\+ €EMQ(`(`€\, Printed name and title

Sworn to before me and signed in my presence

 

Date: \("(,('| i n ,' . w

. I/dge ’s signature
City and state: |\/|cA||en, Texas (/J 7& acker, U.S. |V|agistrate Judge

 

Printed name and title

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ATTACHMENT A

The facts establishing the foregoing issuance of an arrest warrant are based on the following:
I, Special Agent Steven Medrano, affiant, do hereby depose and state the`following:

l. l am a Special Agent of the United States Department of Justice, Bureau of`Alcohol, Tobacco, Firearms and
Explosives. l have been a law enforcement officer for over eight years. My duties include the investigation of
violations of the federal firearms laws. l know it to be unlawful for any person who is under indictment for a
crime punishable by imprisonment for a term exceeding one year to ship or transport in interstate or foreign
commerce any firearm or ammunition or receive any firearm or ammunition, which has been shipped or
transported in interstate or foreign commerce. This criminal complaint is based on the following facts:

2. On Wednesday, April lO, 2019, the Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) initiated a
criminal investigation into Jorge Enrique SANCHEZ for violation of Title 18 U.S.C. § 922(n). SANCHEZ is a
co-owner of Federal Firearms License (FFL) Hole in the Wall Shooting Range, located in McAllen, Texas.
Your affiant has knowledge SANCHEZ was indicted on August l, 2017, in the 370 Judicial District Court of
l-Iidalgo, County, Texas; CR-2821-17-E, on six counts of Aggravated Sexual Assault with a Child, Texas Penal
Code Section 22.021(a) (2) (B). The charge of Aggravated Sexual Assault with a Child is a First Degree
Felony punishable by imprisonment for a term exceeding one year. These charges remain pending. '

3. On Wednesday, April 10, 2019, ATF Industry Operations Investigator (IOI) David Garza advised your
affiant of an ongoing investigation into F_FL violations by SANCHEZ. ATF IOI Garza advised on November
20, 2018, he conducted an interview with an employee from the FFL Hole i'n the Wall Shooting'Range, who
stated `SANCHEZ is the only individual who has access to the office in the FFL where the firearms are stored. '
Also during the interview, the employee told ATF IOI Garza, SANCHEZ orders firearms from other FFLs and
upon receiving them; he enters all the firearm information into the Acquisition and Disposition Records Book
(A&D Book). The A&D Book is a log to track and inventory firearms in an FFL. ATF IOI Garza advised on
this same day, he met with SANCHEZ at the FFL business and observed that all firearms were stored in
SANCHEZ’ office.

4.4 ATF ‘IOI Garza provided your affiant with copies of ATF Firearm Transaction Records Forms (ATF Form
4473s) and learned SANCHEZ executes all ATF Forms 4473 by signing Section` 34 and Section 35 of the form
titled Transf`eror’s/Seller’s Name and Transf`eror’s/Seller’s Signature.

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ATTACHMENT A

5. Your affiant reviewed entries in the A&D Book and compared them to an ATF Form 4473 indicting a
Winchester; model 74; S/N: 196140A;‘ 22LR caliber; Rif_le was received on November 13, 2018, from
Hellertown, PA and was transferred on November 17, 2018 to an individual.

6. Your affiant also reviewed entries of the A&D Book and compared them to an ATF Form 4473 indicting a
Aero- Precision; model M5; S/N: US34409; Multi Receiver was received on November 7, 2018, from Victor,
MT and was transferred on November 7, 2018 to an individual.

7. Your affiant also reviewed entries of the A&D Book.and compared them to an ATF F_orm 4473 indicting a
Adams Arms; model AA-l$; S/N: AA0001935; 5 .56 caliber; Rifle was received on October 25, 2018, from-
Knoxville, TN and was transferred on October 30, 2018 to an individual.

8. Lastly, on February 13, 2018, SANCHEZ was officially advised by your affiant to immediately cease and
desist from receiving, transporting or shipping firearms or ammunition as it is a violation of Federal Law under `.
Title 18 U. S. C. § 922(n). On this date, SANCHEZ signed a Cease and Desist Letter, acknowledging his
understanding of the official notice and possible consequences Subsequent to the letter being acknowledged
by SANCHEZ, the transactions listed above were recorded.

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9. Based on the review of the documents as described above and the interviews conducted, your affiant
believes there is probable cause that SANCHEZ has repeatedly received multiple firearms which were shipped
or transported in interstate commerce; namely from Pennsylvania, Montana, and Tennessee to Texas while'he
was under indictment for a crime punishable by imprisonment for a term exceeding one year.

  

 

edrano - ATF Special Agent

Sworn to before me and subscribed in my presence,
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~ Mke , U.S. lV|agiStrate Judge ` Date

